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This Agreement made this 24th day of February, 2005, by and between _ Rhodes Homes

Contract #AZ801000-2. . -

' Gonsultant Agreement

Arizona, hereinafter sometimes nes referred to as "Client", and Stanley Consultants, sometimes
hereinafter referred to as “Consultant”, provides as follows:

Date: - 2I2ai08
Project; _ Aztec 80 (hereinafter sometimes referred to as “The
Project”) |

Contract Price: $531,860.00

RECITALS:

Client is the developer of The Project. Client is entering into this Agreement with -
Consultant to perform the professional services described within the Scope of .
. Services, attached as Exhibit “A” to this Agreement.

Consultant is qualified to. provide the professional services agreed to within this .

Agreement as requested by the Client. If Consultant is not qualified to perform the
services indicated herein for completing the work, Consultant will immediately
notify Client of such | in writing.’

Consultant shall maintain the schedule as mutually agreed upon unless outside
circumstances such as governmental reviews, natural disasters, or other unknown
or uncontrollable influences occur. The client shall be notified immediately of any

, changes to the schedule. .

" WITNESSETH:

IN CONSIDERATION of the mutual promises and covenants hereinafter set forth, the Client and
’ the Consultant agree as follows: .

1.

Services: Consultant shal perform the professional services described in Exhibit "A"

and elsewhere throughout this Agreement. Exhibit “A” is attached hereto and :

incorporated herein by reference {the "Scope of Services").

Non-Exclusivity: This Agreement shall not act as an-exclusive contract limiting the
Client to use only Cofisultant at the Project.

Standards: All services shall be performed by the Consultant in a manner consistent.
with that level of care ordinarily exercised by reputable members of the profession v who
are currently practicing in the same locality under similar conditions.

Government Requlations; Consuitant shall comply with all known laws, statutes,

ordinances, standards, rules and regulations, policies, licensing requirements, insurance -

requirements, practices, and procedures of federal, state, municipal, and special district

governmental authorities which are applicable to the ‘services covered under this —

Agreement.

Materials: All necessary labor, licenses, and any other items necessary to complete the
services as outlined in Exhibit “A” (hereinafter collectively referred to as the "Materials",
must be furnished by the Consuitant and shall be a part of the contract price unless itis
specifi really excluded in Exhibit "A

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Reproduction of six (6) copies of documents needed for. the production, design, and-
submittal of plans and maps are included in the contract price. In addition, one copy of
each document, map, or plan will be provided to the Client during the preliminary stages, —
pricr to the first submittal, after each additional submittal, and immediately after approval
and recordation. The total cost of these copies is included in the overall price of this ¢
contract. -- , . :

Any additional reproduction of plans and documents requested by Client which ¢ are not:
included in the contract price shall be directed by Client to Client's reproduction company .
‘of choice at Client's expense. In the event changes are requested by the Client, an
additional fee shall be negotiated for those copies at the instance of the © Consuftant at the
time of request. . .

6. Licensing ‘Requirements: As a condition of this Agreement, Consultant shall maintain
in effect at aif times during the term of this Agreement a valid and. appropriate license
and/or registration for the State of Arizona,.or any other governmental or adminisirative |

' body as may be applicable. Copies of current applicable licenses shall be submitted to
Client upon request. Furthermore, Consultant shail ensure that each of its employees |.
who are subject to licensing and/or registration maintain a current and valid license

~ and/or registration while performing work on the project. Consultant will notice Client in
writing immediately of any changes to Consultant's registration license status.

7. . Key Personnel:

a. Award of this contract was based upon a review of the personal qualifications
proposed by the Consultant. This includes, but is not timited to, Consultant's current
organizational chart, the described internal schedule of processing for the recordation
of map(s}, and the current Principals of the company. ,

b. The Client will be notified immediately if there is a change in Key Contact Personnel
including the names and qualific ications of these individuals.

c Should the individuals originally assigned to Client not be able to perform the work,
the Consultant shall send written notice of any proposed replacement or addition, . .
' including a statement of :qualifications, by individual name, Such. proposed .
replacement or addition must be sent to Client immediately.

d. Client reserves the right to reject any proposed Teplacement or addition and/or to.
request additional qualifying docurnentation. ©

'  @, Key personnel designated by Consultant may be subject to an interview with Client to
substantiate the knowledge and experience that has been represented.

f. Prior te beginning “work, the Consultant will supply Client. with a Key Contact
- Personnel List to include their job, title, and contact information. Consultant will also.
supply Client with a list of employees authorized to sign contracts and change orders.

8. Consultant's Representations:

a. The Consultant shall perform the services outlined in Exhibit “A” in a manner.
consistent with that level of care ordinarily exercised by reputable members of the ~
profession currently practicing in the same locality and under similar conditions.
Consultant understands the -nature and scope of services and shail perform all
services as required i in this Agreement,

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. Stanley Consultants £47

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b,- Consultant shall attend a weekly status meeting according to Client's requests. Fees
for weekly meetings shall be included i in the lump sum price for the duration indicated
in Exhibit “A

Indemnification: To the fullest extent permitted by law, Consultant shall indemnify and
hold Client harmless from and against any and all claims, fiabilities, demands, losses,
actions, causes of action, damages, costs, expenses, fines, and penalties of every
nature, including but not limited to those resulting from injury to persons or property,
which are caused by Consultant's negligent act, error, or omission in the performance of
the services under this Agreement or by its breach of this Agreement. Consultant shail
not be responsible to indemnify Client from any liability, claims, judgments, josses or
demands that are caused by the negligence of the Client, In the event Client and

' Consultant are determined to be jointly at fault, any liability as between. Client and

Consuliant shall be allocated between Client and Consultant in accordance with their

: proportionate share of such fault. .

Attorney's Fees: lf either party becomes involved in litigation arising out of this

‘Agreement or the performance thereof, the court shall award reasonable costs and

expenses, ‘including attorney's feés, to the prevailing party. In awarding attorney's fees;
the court shall'net be bound by any court fee schedule, but shall, in the interest of justice,

faith.

Confidentiality of_the Consultant: Consultant "acknowledges and agrees that

' throughout the term of this Agreement, Consultant may obtain information about the

Client or the project which is highly sensitive and confidential’ Except as required by law
or by a.court of competent. jurisdiction, Consultant agrees not fo disclose Client
confidential information to unrelated third parties. outside the scope of the services

without the express written consent of the Client Nothing herein shall be deemed to.

prohibit Consultant from making a disclosure of a violation of law or of a matter necessary
to protect the health or safety of any person. Consultant will notify Client prior to

releasing any disks or maps provided to other consultants that are prepared in
conjunction with any work/services for. Client, . Required coordination with any agency
" Necessary for the approval or construction of this project is hereby granted.

Insurance: Consultant shall maintain adequate insurance coverage at its. own expense
at ail times during the full term of its services under this Agreement and as otherwise
required hereunder. Insurance coverage must have policy limits’ not less than those set
forth below with insurers licensed to do business in the State of Arizona and which is

acceptable to the Client and under forms of policies satisfactory to the Client. There are:

no other requirements contained herein as fo types, limits, or Client's. approval of
insurance. Client coverage to be maintained by Consultant is intended to and shall not in

any way or manner limit quality or quantity of the liabilities and obligations assumed by

Consultant under this Agreement or otherwise as may be provided by law.

The following items must. be submitted to the Insurance Coordinator of Rhodes Homes
Arizona prior to payment of any invoices or acceptance of any work. Consultant agrees:
that it shall not be entitled to such payment until ‘such time that the following have been.

received by Client:

a. General Liabitity Insurance Coverage in the amount of $2,000,000 aggregate. The

Certificate holder's box must show the following names as additionally insured:

“= Rhodes Homes
‘Rhodes Homes Arizona

4: a
. Rhodes Homes of na
Stanley Consultants 4

award the full amount of costs,: expenses, and attorney's fees paid or ’ incurred in good:

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me James M Rhodes, Individually

This Certificate must also have attached an additional insured endorsement in a CG
2026 1185, or a CG2037 1007 FORMAT which names the same three names as
additionally insured. The insurance company providing the insurance coverage must:
have an AM Best Rating of At or better and must be admitted in the state of Arizona:.

The Name of the project must be noted in the Description Box. (We require an
Original Insurance Certifi cate for each project.)

b. Comprehensive Automobile Liability Insurance in the amount of $1,000,000. .

c State Industrial Insurance Certificate of Workmen's Compensation insurance. .
Certificate which shows that you are covered. If self-insured, a certificate showing
that you are covered. | : oo

Professional Liability:

Consultant agrees to provide and maintain, at its expense, a Professional Liability
Insurance Policy of $1,000,000 per claim for a period not less than five (5) years after the
daie of the final completion of the work that is performed in accordance with the services
if commercially available and affordable. Consultant shall provide Client with a copy of ..
the terms and conditions of the Policy providing Professional ‘Labllity coverage, . ,

, Consultant's Equipment Policy:

Any such insurance policy covering Consultant's or outside Consultant's or Consultant's
equipment against loss by physical damage shall Include an endorsement waiving the
insurer's: right of subrogation against the Indemnities. Such insurance shall be
Consultant's and outside Consultant's and in-house Consultant's sole and complete
means of recovery for any such loss. Should Consultant or any outside Consultant or in-
house Consultant choose to self-insure this risk, itis expressly agreed that the Consultant,
and the outside Consultant and in-house Consultant hereby waive any claim for damage
or loss to said equipment i in favor in the Indemnities.

Other Requirements:

Evidence of the insurance coverage required to be maintained by Consultant represented

_ by Certificates of Insurance issued by the insurance carrier(s), must be furnished to the _
Client prior to Consultant starting its services. Certificates of Insurance shall specify the -
additional insured status mentioned above as well as the waivers of subrogation. Such
Certificates of Insurance shall state that Client will be notified in writing thirty (30) days.
prior to cancellation or non-renewal of insurance. Consultant shall provide to Client a-
certified copy of any and all applicable insurance policies prior to requesting or receiving
payment from Client and prior to starting work. Timely renewal -certif cates will be
provided to Client as the coverage renews. —

Insurance similar to ihat required of Consultant shail be provided by or on behalf of ail
outside Consultants and in-house Consultants to cover their operations performed under.
this Agreement. . Consultant shall be held responsible for any modifications in these
insurance requirements ‘as they. apply to Consultants. Consultant shall maintain

_ Certificates of Insurance from all Consultants, enumerating, among other things, the
waivers in favor of, and insured status of, the Indemnities as required herein and make

- them available to Client . upon Tequest. The term “Consultant(s)" shall. -include
Consultants of any ter.

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Stanley Consultants |

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-” Contract #AZ801000-2

Additional Required Documents:

a.

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State of Arizona License. Copy of unexpired license, if required by law,

Copy of current. unexpired business . licenses, whichever is applicable fo ‘the
subdivision or job.

4) Mohave County
2) City of Kingman |

A-valid W-9 must be on file.

Use of Work Product:

Consultant's work product shall be delivered to Ciient per a mutually agreed schedule
in accordance to paragraph 16 of this Agreement and may be used by Client for any
purpose connected with the project in accordance with paragraph 16 of this
Agreement. Consultant agrees to provide Client with the disks containing the work
product of the Consultant in a format as agreed upon at the initiation of project and to
the Client's specifications. Under no circumstances shall transfer of drawings and
other instruments of service on electronic media for use by the Client be deemed a
sale by the Consultant, and the Consultant makes no 1 warranties, either express oF
implied, of Consultant’ s items of work:

Documents, Including drawings and specifications, which are prepared by Consultant
pursuant to this Agreement are not intended or represented to be suitable for use by ©
Client or others other than for their originally intended use at the Project. Any use of

completed documents other than as originally intended, without written verification or

approval by Consultant, will be at Clients sole risk and without Maboity or legal’ —

exposure to Consultant. .

Consultant shall not release any non- public data or work product prepared under this
Agreement to any other consultant, entity, or private/public organization. without the
prior written authorization of Client with the exception to those documents that must

_ be released to public record prior to approval or recordation.

Review and Approval of Work:

a

Client reserves the right to. have the Consultant's work product reviewed by other
consultants or by Client at its discretion. Consultant shall fully cooperate with the
Client and its agents in review of its work product. Consultant shall immediately -
provide either appropriate changes or a written response as a result of such outside

- review, Additional costs, if any, for such changes and or responses shall be

negotiated prior to making such changes and/or responses. If said changes are for
value engineering purposes, said revisions will be done after the Client has approved
them on a time and materials basis. [f Client and Consultant are unable to resolve
such dispute, Client and Consultant agree to mutually select an independent party to
seek a resolution through mediation. .

_ Provided the Consultant is given clear written and spoken directions from the Client,

work is to conform to the Client's acceptance and internal specifications as they are

_ provided prior to start of work in- addition to City and County specifications,

acceptance, and approval. If there is a conflict between the Client's specifications
and the governing agency's specifications, the governing agency's specifications

shall prevail. Furthermore, Client requires that on or before 10% of the work is

complete and oh a regular basis thereafter, Consultant shall present its design to. -

Rhodes Homes of Ari
Stanley Consultants

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Client to obtain approval and/ar advice on how to mitigate design discrepancies early |

in the process.

c. Consultant's work shal! be in a manner consistent with that level of care and still -
ordinarily exercised by reputable members of the profession currently practicing in .

the same locality under similar conditions and shall be deemed complete when It has
been signed, approved, recorded, and accepted by the applicable governing
agencies, and the approved copies have been presented to Client. :

Schedule: lf provided for in Consultant's Scope of Services, the Consultant will supply

and update a detailed critical production/design review schedule on a weekly basis for
tracking purposes which includes planned versus actual completion timeframes for both
entity reviews and Consultant production. Consultant shall maintain the schedule as

natural disasters, or other unknown or uncontrollable influences occur, The client shall:

‘mutually agreed upon unless oufside circumstances such as governmental reviews, ~

be notified immediately of any changes to the schedule. Additional fees may be required.

for any unforeseeable delays in the project that are outside of the Consultant's control.

Changes: From time to time, Client may require changes In the Scope: ‘of Services of the -

Consultant to be performed thereunder. Such changes, including any increase or

' decrease in the amount of the Consultant's compensation, which are mutually agreed

upon by and between Client and Consultant shall be incorporated in written amendments
or Change Orders to this Agreement and signed by all parties hereto prior to performing

_ additional services, Client and Consultant may request an amendment of the provisions

of this Agreement; however, oral understandings shall not be binding. To be valid, all ©

such amendments shall be made in writing and signed by all parties hereto.

’ Waivers: No waiver or indulgence of any breach or series of breaches of this Agreement

shall be deemed or construed as a waiver of any other breach of the same or any. other

provision hereof, nor shall it affect the enforceability of any part of this Agreement. No™-

waiver shall be valid or binding unless executed in writing by the waiving party.

Termination:

a. The Client may terminate this- Agreement at any time by written notice to the

Consultant’ subject to the payment of all fees and expenses incurred through. the:
termination date. Upon. such termination, Consultant shall deliver to the Client all

plans, drawings, computer disks and the like which were prepared by the Consultant .
in connection with this Agreement of said Project. Consultant's plans, drawings and |
the like may be directly or indirectly used by the Client to the extent permitted by law; --

provided however, Client hereby agrees fo indemnify and hold Consultant, its
‘officers, directors, employees, consultants, and subcontractors harmless from and
against any and-all claims, liabilities, demands, losses; actions, causes of action,
damages, costs, expenses, fines, and penalties of every nature, including but not
limited to those resulting from injury to persons or property .

bs. This Agreement may not be terminated by Consultant except by breach of this

Agreement by Client, to include nonpayment of fees within 30 days of invoice

which is not cured within fifteen (15) days. following Client's receipt of -

Consultant's invoice.

c. Changes to the approved plans without Client's authorization will be grounds for

terminating this Agreement.

d. In the event this Agreement i is terminated, all finished or unfinished documents, data,

drawings, models, photographs, reports, or other material prepared by the Consultant _

Rhodes Homes of.
Stanley Consultants

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under this: Agreement shall become eligible for any intended use by Client, and

Consultant shall be entitled to receive just and equitable compensation for work
completed on such documents and other materials. All plans, documents, comments
from agencies, and notes beceme eligible for any use by Client in return for the
compensation received. Client is to receive from Consultant a hard copy and an
electronic format copy of all work performed by Consultant. for Client regarding the
‘Project for the cost of duplication and reasonable personnel time.

Assignability: Consiltant shall not assign this Agreement or any portion thereof or any
of its rights or obligations hereunder without the expressed written consent of the Client.

Payment:

a, Consultant shall provide Client with a monthly statement of if fees and expenses bythe

. 1st of each month for payment on the 21" of the same month, Statements. received
after the 1st of each month will be paid as if submitted the following month. Partial
payment to the Consultant shall not be construed as approval or acceptance of work
furnished hereunder. .

b, Fees and expenses described herein are not to exceed the fees as set forth in

Exhibit “B" without the prior written approval of the Client. Client shall have no

liability for payment of said fees should they exceed fees. as set forth in Exhibit "B" |

without the prior written approval of the Client . All fees exceeding the amounts | . .

agreed to herein. will be approved by. both Client and Consultant prior to the:
commencement of services. . .

c. Consuiltant shall pay all liens (including beneficial use liens), claims, charges, or other
' _ impositions of any nature: or kind imposed. upon Consultant or arising out of or in
connection with the services performed or materials provided for hereunder and shall

hold harmless and indemnify Client there from. Client reserves the right to pay any ~

liens that are imposed as a result of any work performed by sub-consultants of
’ Consultant. Consultant shall reimburse Client for such payments. The fees in this
proposal do not include any taxes, if any, whether local, sfate, or federal on
professional services, including but not limited to sales tax. The amounts of any

taxes will be added to the professional. service fees as they are invoiced and willbe

. identifi ed as such.

d. To the extent Consultant's services have n not met the Standard of Care as written in
Paragraph 3, Consultant shall be held responsible for errors in the field created by

Consultant's designs. Consultant shall be informed of errors immediately upon

discovery and shall have the right to make adjustments to the plans in order to
correct the error, Consultant shail have the right to review the costs submitted byt the
contractor for the remedy prior to commencement.
Notice. Any notice in this Agreement shall be in writing and shalt be effective upon
States mail, or upon confirmed transmission by telegram, cable, telex, or a facsimile. -

Entire Aq reement: This Agreement contains all the terms, conditions, and provisions

hereof creating the understanding and representations of the parties relating thereto -
‘ regarding this Project. All such prior written and/or oral proposals, representations,

understandings, and discussions are superseded by this Agreement. This Agreement
may only be modified or amended by further written agreement executed | by the parties.
hereto.

Rhodes Homes of Ail
Stanley Consultants_

-personal delivery, certified mailing return. receipt requested when deposited in the United .

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Authority: Each of the undersigned signatories declare and represent that they are duly

authorized to. sign this Agreement and bind each of the parties hereto to all the terms and.

conditions.as outlined herein.

Binding Effect: This Agreement shall be binding upon the heirs, . personal

representatives, successors, and/or assigns of the Consultant.

Return of Agreement: Consultant shall execute and return this poreemen within five’
. (5) calendar days from the date of the Agreement. Consultant shall not commence with:

services and/or. work prior to receipt of a fully executed Agreement Consultant shall be

due no payments for work completed until both parties have fully executed this
‘Agreement. .

Rhodes Homes of Ari

_ Stanley Consultant GH: :

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the day and
'- year written above.

. : Rhodes Homes Arizona —
Stanley Consultants . _ 2215 Hualapai Mountain Road, Suite H |

5820 S. Eastern, Suite 200 we Kingman, Arizona 86401
Las Vegas,NV,89119 ss © a, oo Phone: (928) 748-2210 ©
Phone 702-369-9396 Fax: (928) 718-1322
Fax |
Lut. YE. Z- Bos
Authorized Signature” Date o2: 28 0S
: Dat
: { ne. Hamgnn, Cent (otmnce ae
fp. dAVID FR If contract amount is over $25,000, then two (2)
- Print Name - Rhodes Homes Arizona signatures are required.
— 2/23 fox

<______MarlarrWaiker, Division Manager f Date .

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Rhodes Homes of
' Stanley Consultants

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Exhibit “A”

SCOPE OF SERVICES

GENERAL CONDITIONS OF THE SCOPE OF SERVICES

4

SITE NAME _Rhodes Aztec 80 Acres (252 Lots)

SITE DESCRIPTION . . .
a. -APN Number’ 306-24-114,114,115,116 -
b, Acres. 78 .
c. Notable Boundaries. _ Aztec-Rd & Chuar Drive
d. Client's Parcel Number. _N/A

REIMBURSABLE EXPENSES

A budget amount has been set for reimbursable expenses (See Exhibit B — Schedule

of Values). Reimbursable expenses include such items as courier service, mileage,

reproduction costs, etc... Any and ail fees required to be paid to government
agencies, quas-government agencies or utility agencies are NOT considered -
reimbursable expenses and will be paid by check provided by Client.. These
payments will be scheduled by Consultant and outlined in Exhibit “C", Time of
Completion, giving expected dates when payments will be required and expected
amounts of checks needed. . .

MEETINGS.
a. Consultant is required to attend at least one weekly meeting at client’ s offic ice to
give a project update.
b. Consultant is required to attend all public hearings and goverment agency
meetings that periain to the project.

PRELIMINARY. ENGINEERING SERVICES

1.

zoning classifications given to the Consultant by the Client.

BOUNDARY & TOPOGRAPHY MAP — NOT INCLUDED

.. ALTA SURVEY - NOT INCLUDED

ZONING, WAIVERS, VARIANCES, ETC. oO
Prepare applications for all "LAND USE" changes required to entitle the. subject
property as noted herein. This shall include, but not be limited to,” zoning, waivers,
variances, vacations, use permits, etc, .

SITEPLAN :

Using requirements provided by Client, ‘Consultant shall prepare a site plan in .

accordance with the applicable agencies. This may require t two to three iterations with
the coordination of Client.

Consultant will meet with Client and agency personnel and complete a final engineered
site plan for the site. The site plan will be developed based on design criteria and

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Rhodes Homes of Arizon

Stanley Consultants <GZ* : oo

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Contract #AZ801000-2

PRELIMINARY PLAT
Prepare a preliminary plat based upon the final site plan approved by Client. . Process
and submit the site map for approval through the applicable agencies. Services include
preparing an amended preliminary plat which correlates to the fi nat engineered site
plan, and attending submittal meetings.

TECHNICAL DRAINAGE STUDY
The consultant will prepare a Technical-Drainage Study, with basic. iniprovement
plans, for submittal to the County. The study will be based upon the site configuration
as depicted on the submitted Preliminary Plat. The Consultant will verity that the
study complies to the current ‘Gounty standards.

TRAFFIC STUDY

a. Prepare a traffic report that outlines the traffic flows and trip generations,
distributions and level-of-service analysis. Include all required intersections and
counts as required by the agencies. ‘Submit and process through the applicable’

’ agencies for approval.

b. Process.the analysis through the applicable agencies to obtain “approval.
Censultant shall obtain approval within two 2) agency reviews, which includes
addressing agency's comments. .

ZONING DISCLOSURE MAP - NOT INCLUDED

STORM WATER POLLUTION PREVENTION PLAN

Prepare, according to the Arizona Division of Environmental Protection, a storm water :

pollution prevention plan. This shail include all application(s) and ‘submittal
requirements associated. Services do not include filing of Notice of Termination.

SALES TRAILER PLAN
Prepare one (1) plot plan for the sales trailer and parking areas as designated by

Client. Provide Client appropriate number of wet-stamped copies for submittal to all

applicable agencies. Revisions to the Plot plan at the request of Client after initial.

' submittal will be an extra service to the contract.

41.

1.

BLOCK WALL HEIGHT VARIANCE - NOT INCLUDED

FINAL ENGINEERING SERVICES

GRADING STUDY / ANALYSIS.

Prepare a detailed grading plan with quantities that reflect cut and fi i necessary for
biock wail footings, streets, pads, and underground utility over-building. Consultant to
review with Client and adjust or revise as needed to balance the site and all phases...
This will be completed prior to technical drainage study approval. The appropriate

number of copies will be provided to Client. Services include preparation of ane (1). --

earthwork quantity analysis only. Additional earthwork calculations will be an extra .
service to the Contract and paid for by Client.

_ UTILITY PLANS”
Prepare a master utility plan depicting topographical variances within one 3 (A): foot that .

show all lot lines, driveways, streetlights, fire hydrants, water lines, sewer lines, and
street furniture. Provide Client all necessary design plans for wet utilities.

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, - Rhodes Homes of Ari
' Stantey Consultants |

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3. UTILITY ANALYSIS ee
_ Prepare and provide power need analysis, water and sewer analysis. The appropriate
number of plans will be provided to Client for submitting and processing through the
-fequired agencies. for approval. Review utility services and advise Client of any
additional studies that may be required for said project. Dry Utility analyses will be
conducted. by Client's Specially consultant. OO me

4. LOT FIT ANALYSIS
Prepare a lot fit analysis using Client's approved foot-prints indicating which floor plans
"will and which will not fit on each lot of the project. The fot fit plan should include, but
not be limited to, retaining wails, scarps, driveways, fire hydrants, streetlights,
' streetlight service points, and Unisource transformers. Provide working plans and final .-
lot fit for review and approval by Gilent.

5. IMPROVEMENT PLANS
' . This proposal is based on preparing one (1) set of Improvement Plans for the project.
Any additional plans -or additional phasing of the project will be done as an extra
’ service on the Contract. .

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Rhodes Homes of A!

Stanley Sp -

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Contract #4Z801600-2

Prepare and process improvement plans for approval for all on-site improvements.
Offsite Improvements including water, sewer and storm drain facilities are not included
in this contract. The improvement plans shall include but not be limited to:

‘General Notes and Legend Sheet - To include rights-of-ways, legal descriptions,

governmental and utility agency notes, concrete and asphalt quantities for both public
and private rights-of-way, and a legend of all symbols and abbreviations referenced
throughout the improvement plans.
a. Grading Plan — To include quantities that reflect cut and fill necessary for block
' wall footings, streets, pads, and underground utility over-building. -
b. Master Utility Plan - To include locations, specifications and quantities for all
- water mains, water laterals, water meters, ‘sleeving, fire hydrants, sewer mains,-
sewer laterals, manholes, streetlights, pull boxes, electrical conduits for street
lights and streetlight service point locations. ,

: c. Street Plan & Profile Plans — To include profiles of underground utilities, rim n

elevations and invert elevations, as well as the centerline profile and. the top of
curb elevations in transition areas and at intersections,
d. Signage & Striping Plan — To include locations, specifications and quantities for |
all signage and striping, for both public and private rights-of-way. oO
f . Detail Sheet — To include all details referenced throughout improvement plans.

BLOCK WALL PLANS
Prepare detailed block wall plans with all associated sections and detail specifications

provided by Client depicting footings, retaining walis, screen walls, view fences and any © ,

other pertinent plan design necessary to construct block walls that will minimize the

’ need for any field changes.

FINAL PLAT

Consultant shall prepare and process through, all the applicable agencies, all final plats”

associated with all phases of project to record the final map according to. the schedule
set forth in Exhibit.“C”, Time of Completion. This proposal is based on ‘Preparation of
one (4) fi final map. The basis of final lots is 252 SFR units.

PLOT PLANS
Prepare plot plans on a 24” x 36" group release format-and an 8-1/2" x 1" individual lot
format. These plot plans | shall include information as required by the County Building.

Department.

9, QUANTITY AND BUDGET COST ESTIMATES

10,

Consultant will provide input data for quantities and submit information in excel format.
to Client to assist Client with preparing project budgets. .

BLOCK WALL STRUCTURAL DETAILS

Consultant will provide structural calculations and details for retaining walls t up toGfeet -
in height. Details will be integrated into the exhibits for the drainage study and the fi nal

‘Improvement Plans. Caiculations will be used by Client to apply and process wall .

pernaits. os

11. MEETINGS, SCHEDULES, PROCESSING AND PROJECT MANAGEMENT -

Consultant will attend weekly progress meetings as required to process the project with
the Client. Schedules and reasonable updates will be provided to Client. Consultant
will process study, map and Improvement Plans submittals with applicable agencies.
Building Permit Processing is EXCLUDED. .

“44 . .
- Rhodes Homes of Arizoria
. Stanley Consultants

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Contract #AZ801000-2.

12. EXPENSES

See Section. L 3. of this Scope of Services.

IV. CONSTRUCTION STAKING (ON-SITE)

The basis for this proposal i is from the Preliminary Plat depicting 252 Single Family Residential
Buildings. Deviations from this basis will require modifi cations to the scope and fee for -
Construction Staking Services. .

Horizontal and Vertical Control
Consultant will field verify the horizontal and vertical data: ‘provided by the Client
and report any discrepancies found. -

The Client will provide the latest AutoCAD disk and two (2) sets of the current approved
civil, architectural, and/or structural plans required to provide construction survey
services. Any additional plans or revisions to the approved plans will be made available
to $c! within 24 hours of approval of such plans. .

Rough Grade ,
Two stakes will be sot on each property fine for grading, one at 10’ back of curb for

' grading of the pads and streets with one at the. rear property corner for grading of the
pads.

Blue taps for Pads
- Set two stakes at each property line for vertical control of the building pad. .

Pad Verification and Finished Floor Certifications
Measure the elevation of the pad after grading is complete.
Measure the elevation of the top of form or finished concrete slab. fo provide FF
Certifications. oO ¢

Utility Services ‘
Provide one (1) stake at each property line with an offset to the back of curb,

- Sanitary Sewer Lines .
Provide stakes at offsets fo all manholes and at 50’ intervals: between manholes.

Fire Hydrants/Waterlines .
Fire hydrants will be Staked using two (2) stakes per hydrant for horizontal and vertical —

control. .
Set offsets for waterline at 100 foot stations, grade breaks and angle Points.

Building Layout
Provide 3 stakes at the projected building envelope for each house layout.

Wall Layout
” Set offsets fo Property Line at 50’ stations with elevations to- footing steps.

Curb and Gutter. ¢ .
Set offset stakes at the beginning and end of curb returns; at approximately 50 stations

or the lot lines and at the beginning and end of curves.

Redheads for Street Subgrade
, Set redhead stakes at back of curb line and centerline, corresponding with the Curb and

Gutter stakes.

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Rhodes Homes of Arizon

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Bluetops for Finished Gravel in Streets
@ Set grade stakes on crown line at approximately 50° stations.

Final Front Property Lines
Saw cut top of curb for projected front property lines.

Final Rear Property Comers -
Set hub and tag at corner or nail and tag on the projected property line for all rear
property corners.

Final Street Monuments .
Set final monuments per plat map. (Where concrete monuments or well monuments a are
*, required, SCI will provide control for developer to install monuments). —

- Rhodes Homes 0
‘ mc , . Stanley Consultants

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~ Contract #AZ801000-2

®@ 'V, GONSTRUGTION STAKING (OFF-SITE) - Not Included

VI TIE-INS/FORM BOARDIFINISH FLOOR CERTIFICATION

Provide form board / finish floor elevation survey and complete finished floor certifi cation
documents at form board set prior to pour.

Vil. SCREEN WALL STAKING _

~ Provide control staking for locations of privacy block screen walls as required.

Rhodes Homes of Afi
' Stanley Consultants

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Exhibit “B”

SCHEDULE OF VALUES.

IL Preliminary Engineering Services

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Contract #AZ801000-2

Not Included

V. Construction Staking (Off-Site)

18

1. Boundary & Topography Map
2. A.L.T.A. Survey’ ~ Not Included
3. Zoning, Waivers, Variances, Ete. $10,000.
4. Site Plan | $21,000
5. Preliminary Plat w/processing $11,500
6, Technical Drainage Study / $14,500
Preliminary Grading Plan w/precessing us
7. Traffic Study. $12,000
8. Zoning Disclosure Map Not Included.
9. Storm Water Prevention Pian , $1,800
10, Sales Trailer Plan $3,000
11. Block Wall Height Variance Not Included
$73,800
TL. Final Engineering Services :
1. Grading Study / Analysis , $10,000
2. Utility Plans $11,500
3. Utility Analysis - . $5,000 ~
4, Lot Fit Analysis - $9,500
§. Improvement Plans $138,000.
6. Block Wail Plans $15,200
. 7. Final Plat wjproc. $20,160
8. Plot Plans. $17,600
9. Quantity and Budget Cost Estimates _ $5,000
10. Block Wall Structural Details $5,000
LL. Meetings, Processing, Schedules . $20,000.
12. Reimbursable Expenses (Budget) $5,000
- $261,960
IV._ Construction Staking (On-Site) _ .
H & V Control oF
Rough Grading. ©
Building Pads and grade Verifications
Sewer Lines ¢
Utilities (storm sewers, electric vaults)
Water Lines, Hydrants
_ Building Envelopes
Curb & Gutter ~
Walls
Final Monumentation
$176,400
Not Included

Stanley Consultants

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. Exhibit “A”
SCOPE OF SERVICES

GENERAL CONDITIONS OF THE SCOPE OF SERVICES

‘1. SITENAME Rhodes Aztec 80 Acres (252 Lots)

20 SITE DESCRIPTION

a. APN Number - . -306-24~111,114, 115,116
b. Acres - | 78
c. Notable Boundaries Aztec Rd & Chuar Drive

d. Client’s Parcel Number N/A

3. REIMBURSABLE EXPENSES
A badget amount has been set for reimbursable expetises (See Exhibit B — “Schedule of Values). Reimbursable
expenses include such items as courier service, mileage, reproduction costs, etc... Any and all fees required to
be paid to government agencies, quasi-govermment agencies or utility agencies. are NOT considered.
reimbursable expenses and will be paid by check provided by Client. These payments will be scheduled by ©
Consultant and outlined in Exhibit “C”, Time of Completion, giving expected dates when payments v will be.
required and expected amounts of checks needed. .

‘4. MEETINGS

a, Consultant is required to attend at least one weekly meeting at client’s office to give a project update.
b. Consultant is required to attend all public hearings and government agency meetings that pertain to the.
project.

PRELUVENARY ENGINEERING SERVICES

1. BOUNDARY & TOPOGRAPHY MAP -NOT INCLUDED

2, ALTA SURVEY * NOT INCLUDED

3. ZONING, WAIVERS, VARIANCES, BTC.

Prepare applications for all "LAND USE" changes required to entitle the subject property as noted herein. This”
shall include, but not be limited to, zoning, waivers, variances, vacations, use permits, etc,

4, SITEPLAN
- Using requirements provided by Client, Consultant shall prepare a site plan i in accordance with the e applicable
agencies. This may require two to three iterations with the coordination of Client.”

Consultant will meet with Client and agency personnel and complete a final engineered site plan for the site. The.
site plan will be developed based on design criteria and zoning classifications given to the Consultant by the
Client.

4. PRELIMINARY PLAT
Prepare a preliminary plat based upon the final site plan approved by Client. Process and submit the site map for -
approval through the applicable agencies. Services include preparing an amended preliminary plat which
"correlates to the final engineered site plan, and attending submittal meetings. .

6. TECHNICAL DRAINAGE STUDY,

The consultant will prepare a Technical Drainage Study, with basic improvement plans, for submittal to the
County. The study will be based upon the site configuration as depicted on the submitted Preliminary, Plat. The.
Consultant will verify that the study complies t to the current County standards. . ..

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7, TRAFFIC STUDY.
a. Prepare a traffic report that outlines the traffic flows and trip generations, distributions and level-of-service
' analysis. Include all required intersections and counts as required by the agencies, Submit and Process”
through the applicable agencies for approval.
b. Process the analysis through the applicable agencies to obtain approval. Consultant shall obtain | approval
within two (2) agency reviews, which includes addressing a agency’s comments. .

8. ‘ZONING DISCLOSURE MAP - NOT INCLUDED

9. STORM WATER POLLUTION PREVENTION PLAN :
Prepare, according to the Arizona Division of Environmental Protection, a storm water pollution prevention plan.--- |
This shall include all application(s) and submittal requirements associated. Services do not include filing, of -
Notice of Termination.

_ 10. SALES TRAILER PLAN
Prepare one (1) plot plan for the sales trailer and parking areas as designated by Client. Provide Client appropriate
number of wet-stamped copies for submittal to all applicable agencies. Revisions to the Plot Plan a at the request of
Client after initial submittal will be an extra service to the contract.

11. BLOCK WALL HEIGHT VARIANCE -NOT INCLUDED .

HINAL ENGINEERING SERVICES

1. GRADING STUDY / ANALYSIS
Prepare a detailed grading plan with quantities that reflect cut and fill necessary for block wall footings, streets,
pads, and underground utility over-building. Consultant to review with Client and adjust or revise as needed to
balance the site and all phases. This will be completed prior to technical drainage study approval. ‘The appropriate
number of copies will be provided to Client. Services include preparation of one (1) earthwork quantity analysis
only. Additional earthwork calculations will be an extra service to the Contract and paid for by Client.

2. UTILITY PLANS |
Prepare a master utility plan depicting topographical variances within one (1) foot that show all lot lines,
driveways, streetlights, fire hydrants, water lines, sewer lines, and street furniture. Provide Client all necessary
design plans for wet utilities,

3. UTILITY ANALYSIS
Prepare and provide power need analysis, water and sewer analysis. The appropriate ‘number of plans will be
. provided to Client for submitting and processing through the required agencies for approval. Review utility
services and advise Client of any additional studies that may be required for said pro] ject. Dry Utility analyses will
be conducted by Client's specialty consultant.

4. LOT FIT ANALYSIS. .
Prepare a lot fit analysis using Client’s approved foot-prints indicating which floor plans will and which will hot
fit on each lot of the project. .The lot fit plan should include, but not be limited to, retaining walls, scarps,
driveways, fire hydrants, streetlights, streetlight service points, and Unisource transformers. Provide working ,
plans and final lot fit for review and approval by Client. :

3. IMPROVEMENT PLANS

This proposal is based on preparing one (1) set of Improvement Plans for the project. Any additional plans or
additional phasing of the project will be done as an extra service on the Contract.

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‘Prepare and process improvement plans fer approval for all on-site improvements: Offsite improvements

including water, sewer and storm drain facilities are not included i in this contract. The improvement plans shall

include but not be limited to:

© General Notes and Legend Sheet ~ To include rights-of-ways, legal descriptions, governmental and utility agency
notes, concrete and asphalt quantities for both public and private rights-of-way, and a legend of all symbols and

abbreviations referenced throughout the improvement plans.

a. Grading Plan —- To include quantities that reflect cut and fill necessary for block wall footings, streets, pas,
and underground utility. over-building.

b. Master Utility Plan — To include locations, specifications and quantities for all water mains, water laterals,
water meters, sleeving, fire hydrants, sewer mains, sewer laterals, manholes, streetlights, pull boxes,
electrical conduits for street lights and streetlight service point locations, -

c. Street Plan & Profile Plans — To include profiles of underground utilities, rim elevations. and invert
elevations, as well as the centerline profile and the top of curb elevations. in transition areas and. at.-
intersections.

d. Signage & Striping Plan To include locations, specifications and quantities for all signage and striping,
for both public and private rights-of-way.

f. Detail Sheet — To include all details referenced throughout improvement plans,

6. BLOCK WALL PLANS
Prepare detailed block wall plans -with all associated sections and detail specifications provided by Client
depicting footings, retaining walls, screen walls, view fences and any other pertinent plan design necessary to
construct block walls that will minimize the need for any field changes.

7. FINAL PLAT .
Consultant shall prepare and process ‘through all the applicable : agencies, all final plats associated with all phases
of project to record the final map according to the schedule set forth in Exhibit “C”, Time of Completion. .This
proposal i is based on mn preparation of one @ final map. The basis of final {ots is 252 SFR units.

8. PLOT PLANS
Prepare plot plans on a 24" x 36" group release format and an §-1/2" x 11" individual lot format. These plot plans
@ / shall include information as required by the County Building Department. :

9, QUANTITY AND BUDGET COST ESTIMATES

Consultant will provide input data for quantities and submit information i in excel format to Client to assist, Client
with preparing project budgets.

10. BLOCK. WALL STRUCTURAL DETANS |
Consultant will provide strisctural calculations and details for retaining wails up to 6 feet i in height. Details will be
integrated into the exhibits for the drainage study and the final Improvement F Plans. Calculations will be used by
Client to apply and process wall permits.
11. MEETINGS, SCHEDULES, PROCESSING AND PROJECT MANAGEMENT
‘Consultant will attend weekly progress meetings as required to process the project with the Client. Schedules and
reasonable updates will be provided to Client. Consultant will process study, map and improvement Plans
submittals with applicable ag agencies, Building Permit Processing i is EXCLUDED. ' ,
12, EXPENSES
See Section 1.3. of this Scope of Services.

IV, CONSTRUCTION STAKING (ON-SITE)

The basis for this proposal i is from the Preliminary Plat depicting 252 Single Family Residential Buildings. Deviations from |
e" basis will require modifi cations to the scope and fee for Construction Staking Services.

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Horizontal and Vertical Control
Consultant will field verify the horizontal and vertical data provided by the Client and report any discrepancies

. found.
@ , The Client will provide the latest AutoCAD disk and two (2). sets of the current approved civil, architectural, and/or
structural plans required to provide construction survey services. Any additional plans or tevisions to the approved
plans will be made available to SCI within 24 hours of approval of such plans.

Rough Grade oo
Two stakes will be set on each property line for grading, one at 10’ back of curb for grading of of the pads and streets -

with one at the rear property corner for grading of the pads.

Blue tops for Pads
Set two stakes at each property li line for vertical contro] of the birilding pad.

Pad Verification and Finished Floor Certifications oo
Measure the elevation of the pad after grading is complete.
Measure the elevation of the top of form or finished concrete slab to provide FF Certifications,

Utility Services
- Provide one (1)s stake at each Property I line with an offset to the back of curb.

Sanita Sewer Lines -
Provide stakes at offsets t to all | manholes and at 50° intervals between manholes

-Fire Hydrants/Waterlines
Fire hydrants will be staked using twa Q) stakes per hydrant for horizontal and vertical control.

Set offsets for waterline at 100 foot stations, grade breaks and angle points.

Building Layout
6 Provide 3 stakes at the projected building envelope for each house layout,

Wall Layout
Set offsets to Property Line at 50’ stations with elevations t to footing steps.

Curb and Gutter oo :
Set offset stakes at the beginning and end of curb returns; at approximately 30° stations or the lot lines and at the
beginning and end of curves.

Redheads for Street Subgrade ,
Set redhead stakes at back of curb fine and centerline, corresponding with the Curb and Gutter stakes,

Bluetops for Finished Gravel in Streets
Set grade stakes on crown line at approximately 50° stations.

Final Front Property Lines Do:
Saw cut top of curb for projected front * property lines,

Final Rear Property Corners “
Set hub and tag at comer or nail and tag on the proj jected property line for all rear property cormers; .

_ Final Street Monuments .
Set final monuments per plat map. (Where concrete monuments or well monuments are required, scl will provide
control for developer to install monuments).

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V. CONSTRUCTION STAKING (OFF-SITE) — Not Included

© VL TIE-INS/FORM BOARD/FINISH FLOOR CERTIFICATION
, Provide form board / finish floor elevation survey and complete finished floor certification documents at form board

set prior to pour.

Vi. SCREEN WALL STAKING
Provide control staking for locations of privacy block s screen walls as required.

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Exhibit “B”
SCHEDULE OF VALUES

IL Preliminary Engineering Services

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Not Included

1. Boundary & Topography Map
2. A.L.T.A, Survey Not Included
3. Zoning, Waivers, Variances, Etc. _ $10,000
4, Site Plan $21,000
3. Preliminary Plat w/processing . S1E,S00
6. Technical Drainage Study /- si4 4,500
_ Preliminary Grading Plan wiprocessing _
7, Traffic Study ~ $12,000 -
8. Zoning Disclosure Map Not Included
9, Storm Water Prevention Plan $1,800-
10. Sales Trailer Plan . . $3,000 —
11 Block Wall Height Variance: - Not Included
oS $73,800
I. Final Engineering Services a /
' |. Grading Study / Analysis “$10,000
2. Utility Plans “$11,500
3. Utility Analysis $5,000
4. Lot Fit Analysis $9,500.
5. Improvement Plaris $138,000
6. Block Wall Plans $15,200
7. Final Plat w/proc. $20,160
8. Plot Plans $17,600 .
9. Quantity and Budget Cost Estimates $5,000
- 10. Block Wall Structural Details _ $3,000
11. Meetings, Processing, Schedules ~ $20,000
12. Reimbursable Expenses (Budget) - $5,000 -
Co $261,960
IV. Construction Staking (On-Site
H & V Control .
Rough Grading
Building Pads and grade verifications
Sewer Lines
Utilities (storm sewers, electric vaults)
Water Lines, Hydrants
Building Envelopes —
Curb & Gutter
- Walls
Final Monumentation |
- $176,400 -
V. Construction Staking (off: Site) Not Included
VI. Tie-Ins / Form Board / Finish Floor Certification . $59,600

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© "VIL Screen Wall Staking se, _____ $10,100

TOTAL LUMP SUM CONTRACT PRICE: -. «$531,860

Exclusions: ~~

Services rendered outside this scope of services will be performed on a Time and Materials basis at the rates shown on the -
attached Standard Charge Rate Fee Schedule. The Consultant shall not.conduct additional services without prior written
authorization from the Client. The following is a partial list of the exclusions applicable to the included Scope of Services. ~ |

= Revisions-to plans under design due to a change in information or design requirements provided Consultant by
others (Client, Client's other Consultants, regulatory agencies’ policy changes in standards) =
Dry Utility Designs and Coordination (power, gas, telephone, cable) (other than listed d herein)
Landscape Plans and Irrigation Plans -
Acquisition of off-site easements
Traffic Signal Plans -
Soils/Geotechnical consulting, pavemetit sections designs, and subdrainage systems
’ Potholing
Hydraulic Flow Tests and catculations will be performed by others if required
Analysis of water and sewer systems serving areas. adjacent to the proposed Project, i.e., the preparation of regional
_or subregional analysis is not included . . .
Channel Design
Structural calculations and/or designs are not included, i.e., retaining walls, ‘buildings, drainage structures, etc.
Entitlement services (other than those specifically listed)
Lot line adjustments, EIR applications
Planning exhibits, land use applications, and/or overlays (except as noted)
FEMA submittals and/or coordination (except as noted)
New conditions as a result of new zoning
Utility Easements other than specifically identified herein .
Retaining/screen wall design and specifications ~—
Legal Descriptions and Exhibits other than specifically identified herein
Off-Site Street Improvements other than specifically listed herein
Vacations or dedications other than those fisted herein
-Field Engineering/Construction Administration meetings:
Hardscape and landscape plans .

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- Exhibit *C”
/ TIME OF COMPLETION
Engineering Schedule:

(see attached Schedule)

Survey Schedule:
Time of completion is determined by Client for which Consultant will provide its services on an “on-call” basis.

Client must make all staking requests 48 hours in advance. _

ST-RH021356
